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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT
________________________________________
                                         )
UNITED STATES SECURITIES AND             )
EXCHANGE COMMISSION,                     ) No. 3:15-CV-675 (JBA)
                                         )
                      Plaintiff,         )
                                         )
      v.                                 )
                                         )
IFTIKAR AHMED,                           )
                      Defendant, and     )
                                         )
IFTIKAR ALI AHMED SOLE PROP et al.,      )
                                         ) SEPTEMBER 20, 2021
                      Relief Defendants. )
________________________________________ )


    RELIEF DEFENDANTS’ RESPONSE IN OPPOSITION TO THE RECEIVER’S
             TENTH APPLICATION FOR FEES AND EXPENSES

      The Relief Defendants join the Defendant’s Response in Opposition (ECF No.

2082) to the Receiver’s Tenth Application for Fees and Expenses (ECF No. 2039) to the

extent that it does not conflict with the Relief Defendants’ currently pending motions

before the Court.


                                           Respectfully Submitted,


                                           By: /s/ Paul E. Knag
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                               Attorneys for Relief Defendants
                               I-Cubed Domain, LLC, Shalini Ahmed,
                               Shalini Ahmed 2014 Grantor Retained
                               Annuity Trust, Diya Holdings, LLC, Diya
                               Real Holdings, LLC, I.I. 1, I.I. 2 and I.I. 3




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing will be sent by e-mail to all

parties by operation of the Court’s electronic filing system or by mail to anyone unable

to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF system.

                                           /s/ Paul E. Knag
                                              Paul E. Knag – ct04194




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